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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,              )               4:05CR3099-2
                                       )
                   Plaintiff,          )
                                       )               MEMORANDUM
      vs.                              )               AND ORDER
                                       )
MICHAEL C. ELMA,                       )
                                       )
                   Defendant.          )


      This matter is before the court upon Defendant’s motion for leave to appeal in
forma pauperis. (Filing 97). I will grant the motion for leave to appeal in forma
pauperis, as it is properly supported by the poverty affidavit contained within the
motion and the appeal appears to be taken in good faith.

       Defendant has filed a motion for appointment of counsel on appeal. (Filing
98.) The caption of that motion indicates that it is filed with the Court of Appeals,
but it has been filed in this court. This court does not have jurisdiction to appoint
counsel for purposes of appeal, and the Clerk of Court is directed to forward the
motion in filing 98 to the Court of Appeals.

      IT IS ORDERED:

       1.    The appeal appears to be taken in good faith and Defendant’s motion for
leave to appeal in forma pauperis (filing 97) is granted.

      2.     To the extent Defendant has moved for this court to appoint counsel on
appeal, that motion (filing 98) is denied; and
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      3.     The Clerk of Court shall forward the motion for appointment of counsel
on appeal (filing 98) to the Court of Appeals.

      September 15, 2006.                     BY THE COURT:

                                              s/Richard G. Kopf
                                              United States District Judge




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